Case 22-56501-pmb           Doc 339-2 Filed 10/15/23 Entered 10/15/23 23:27:13                      Desc
                           Revised Liquidation Analysis Page 1 of 6


                                           Liquidation Analysis
                                          General Assumptions

Hypothetical recoveries under a chapter 7 scenario set forth in this analysis (the “Liquidation Analysis”)
were determined through multiple steps, as set forth below. The basis of the Liquidation Analysis are the
proceeds from the Sale of the Debtor’s assets to the Buyer and the estimated costs to execute the
administration and wind-down of the Debtor’s estate in a chapter 7 liquidation. The Liquidation Analysis
assumes that the Debtor would commence a chapter 7 liquidation on or about October 31, 2023 (the
“Conversion Date”) in lieu of the occurrence of the Effective Date of the Plan under the supervision of a
court-appointed chapter 7 trustee. The Liquidation Analysis reflects the wind-down and liquidation of
substantially all of the Debtor’s remaining assets and the distribution of available proceeds to Holders of
Allowed Claims after the Conversion Date over a 12-month period.

IT SHOULD BE NOTED THAT ANY ANALYSIS OF A HYPOTHETICAL LIQUIDATION IS NECESSARILY
SPECULATIVE. THERE ARE A NUMBER OF ESTIMATES AND ASSUMPTIONS UNDERLYING THE LIQUIDATION
ANALYSIS THAT ARE INHERENTLY SUBJECT TO SIGNIFICANT UNCERTAINTIES AND CONTINGENCIES
BEYOND THE CONTROL OF THE CHAPTER 11 TRUSTEE OR A CHAPTER 7 TRUSTEE. NEITHER THE ANALYSIS,
NOR THE FINANCIAL INFORMATION ON WHICH IT IS BASED, HAS BEEN EXAMINED OR REVIEWED BY
INDEPENDENT ACCOUNTANTS IN ACCORDANCE WITH STANDARDS PROMULGATED BY THE AMERICAN
INSTITUTE OF CERTIFIED PUBLIC ACCOUNTANTS. THERE CAN BE NO ASSURANCE THAT ACTUAL RESULTS
WOULD NOT VARY MATERIALLY FROM THE HYPOTHETICAL RESULTS PRESENTED IN THE LIQUIDATION
ANALYSIS.

The Chapter 11 Trustee has not completed his analysis of Claims in this Chapter 11 Case, and all objections
to such Claims have not been filed and/or fully litigated and will continue following the Effective Date of
the Plan. Therefore, there can be no assurances of the amount of the Allowed Claims at this time, and the
actual amount of the Allowed Claims may be greater or lower than estimated.

Capitalized terms which are not defined herein are defined by the Chapter 11 Plan of Liquidation for
Curepoint, LLC (the “Plan”).




49102337.2
Case 22-56501-pmb              Doc 339-2 Filed 10/15/23 Entered 10/15/23 23:27:13                             Desc
                              Revised Liquidation Analysis Page 2 of 6



 Curepoint, LLC
 Liquidation Analysis


                    Summary of Recoveries Under the Proposed Plan and a Chapter 7 Liquidation
                  Distributive Value                   Notes          Chapter 11                       Chapter 7

 Sales Proceeds                                         (A)               $5,100,000.00                   $5,100,000.00
 Retained Causes of Action                              (B)                $250,000.00                     $250,000.00
 Gross Proceeds Available for Distribution                                $5,350,000.00                   $5,350,000.00
 Fees and Expenses
 Trustee Fees                                           (C)                  $85,000.00                     $160,500.00
 Wind-Down Expenses                                     (D)                  $25,000.00                      $25,000.00

 Administrative Claims (including Professional Fees)    (E)                $995,968.95                     $995,968.95
 Net Distributable Value                                                  $4,244,031.05                   $4,168,531.05

 Class 1 - Secured Tax Claims                           (F)                        $0.00                           $0.00
 Secured Tax Claims Recovery ($)
 Secured Tax Claim Recovery (%)

 Class 2 - Other Priority Claims                        (G)                        $0.00                           $0.00
 Other Priority Claim Recovery ($)
 Other Priority Claim Recovery (%)

 Class 3 - Prepetition Secured Loan Claims              (H)               $1,306,889.11                   $1,306,889.11
 Prepetition Secured Loan Claim Recovery ($)                               $970,272.89                     $970,272.89
 Prepetition Secured Loan Claim Recovery (%)                                   100.00%                         100.00%

 Class 4 - Prepetition Equipment Loan Claims            (I)                1,218,700.57                    1,218,700.57
 Prepetition Equipment Loan Claim Recovery ($)                                             0                               0
 Prepetition Equipment Loan Claims Recovery (%)                up to value of Collateral       up to value of Collateral

 Class 5 - Claims of AMOA Parties                       (J)               $3,400,000.00                   $3,400,000.00
 AMOA Party Recovery ($)                                                   $995,000.00                     $995,000.00
 AMOA Party Recovery (%)                                                        29.26%                          29.26%

 Class 6 - Lafayette Bank Claims                        (K)                 $908,988.70                     $908,988.70
 Lafayette Bank Claim Recovery ($)                                          $375,000.00                     $375,000.00
 Lafayette Bank Claim Recovery (%)                                              41.25%                          41.25%

 Class 7 - MCA Claims                                   (L)               $1,103,923.20                   $1,103,923.20
 MCA Claim Recovery ($)                                                    $105,000.00                     $105,000.00
 MCA Claim Recovery (%)                                                           9.51%                           9.51%

 Class 8 - General Unsecured Claims                    (M)               $10,000,000.00                  $10,000,000.00



49102337.2
Case 22-56501-pmb           Doc 339-2 Filed 10/15/23 Entered 10/15/23 23:27:13        Desc
                           Revised Liquidation Analysis Page 3 of 6



 General Unsecured Claim Recovery ($)                              $1,798,758.16   $1,723,258.16
 General Unsecured Claim Recovery (%)                                    17.99%          17.23%

Note: The accompanying notes are an integral part of this Liquidation Analysis.




49102337.2
Case 22-56501-pmb             Doc 339-2 Filed 10/15/23 Entered 10/15/23 23:27:13                           Desc
                             Revised Liquidation Analysis Page 4 of 6


                                 Summary Notes to the Liquidation Analysis
Distributable Value

    (A) Sales Proceeds

The sum of $5.1 million of proceeds from the Sale of substantially all of the Debtor’s assets pursuant to
the APA.

    (B) Causes of Action

         Liquidation Trust Assets, including Retained Causes of Action listed in Schedule B of the Plan,
remained Assets of the Debtor’s Estate following the Sale. Such Retained Causes of Action will be
transferred to and vested in the Liquidation Trust pursuant to the Plan. Although potential Retained
Causes of Action exist, due to the uncertainty of recovery, a value of $250,000 has been assigned to them
in this analysis. There are, however, no assurances that any Retained Causes of Action would be pursued
by the Liquidation Trustee or a Chapter 7 Trustee or that the proceeds of the Retained Causes of Action
will result in a net recovery of $250,000.00.

Fees and Expenses

    (C) Trustee Fees

        Trustee Fees reflect fees for the chapter 7 trustee which are estimated as 3% of gross proceeds
available for distribution to creditors. In the chapter 11 scenario, fees for the Liquidation Trustee are
based on estimated hourly fees over the duration of the Liquidation Trust, which is assumed to be 12
months at the hourly rate of $800.00 per hour. Trustee Fees in either scenario may be higher or lower
than the estimate utilized in the Liquidation Analysis.

    (D) Wind-Down Expenses

         Wind-Down Expenses include estimated post-Effective Date costs to wind-down the affairs of the
Debtor’s Estate, and for the chapter 7 trustee to wind-down the affairs of all Debtor. These costs include
(i) professionals’ fees, (ii) insurance, (iii) tax filing costs, and (iv) a contingency cushion for other potential
Wind-Down costs such as maintenance and disposal of books and records.

Administrative Claims

    (E) Administrative Claims

       This category reflects the estimated Administrative Claims, estimated professional fees for the
Chapter 11 Trustee’s professionals, and the Chapter 11 Trustee Fees through the Effective Date of the
Plan.

        Total Professionals’ fees are estimated to be $825,000.00, based on the current run rate of the
Chapter 11 Trustee’s professionals through Confirmation and are subject to change. Chapter 11 Trustee
Fees are estimated to be 3% of the proceeds from the Sale.


49102337.2
Case 22-56501-pmb            Doc 339-2 Filed 10/15/23 Entered 10/15/23 23:27:13                       Desc
                            Revised Liquidation Analysis Page 5 of 6




    (F) Class 1 – Secured Tax Claims

         The Chapter 11 Trustee estimates that there are $0 in Secured Tax Claims.


    (G) Class 2 – Other Priority Claims

         The Chapter 11 Trustee estimates that there are $0.00 in Other Priority Claims.

    (H) Class 3 – Prepetition Secured Loan Claims

Prepetition Secured Loan Claims consist of the Claims held by Bankers Healthcare ($105,344.81), the U.S.
SBA ($161,928.08) and CLG (currently disputed and subject to a pending Adversary Proceeding but
included at Proof of Claim face value of $1,039,616.22 solely for purposes of this analysis). The Prepetition
Secured Loan Claims in this Liquidation Analysis reflect the satisfaction of the Prepetition Secured Loan
Claims in full pursuant to the terms of the Plan.

    (I) Class 4 – Prepetition Equipment Claims

        Prepetition Equipment Claims consist of the Claims held by Arvest, HP, U.S. Bank and First
America. Under the Prepetition Equipment Claims are receiving a return of their respective Collateral (to
the extent their respective Collateral has not previously been returned) and a Deficiency Claim for the
difference in the value of their Collateral and the respective Claim amount pursuant to the Plan. For
purposes of this Liquidation Analysis, Prepetition Equipment Claims are reflected as $0.00.

    (J) Class 5 – Claims of the AMOA Parties

         The AMOA Parties are receiving a payment pursuant to the AMOA Settlement in full satisfaction
of their Claims and are waiving any Deficiency Claim pursuant to the Plan. The Liquidation Analysis reflects
a payment of $995,000.00 to the AMOA Parties.

    (K) Class 6 – Lafayette Bank Settlement

        Lafayette Bank is receiving payment in full of the Secured portion of its Claim and a Deficiency
Claim for any remaining amounts owed under the Plan. Pursuant to a settlement between the Chapter
11 Trustee and Lafayette Bank, the Secured portion of the Lafayette Bank Claim is $375,000.00 and this
amount is reflected in the Liquidation Analysis.

    (L) Class 7 – MCA Claims

     Unless agreeing to a less favorable treatment, the MCA’s are receiving cash in an amount equal to the
pro rata percentage claim each MCA held against the Debtor Prepetition AR as of the Petition Date and
collected and a Deficiency Claim for any remaining Claim amounts on a pro rata basis. The total dollar
amount of the proposed payout on the percentage claims against the Debtor Prepetition AR are reflected
in the Liquidation Analysis. In a Chapter 7 scenario, it is uncertain whether the Plan treatment would
apply.

    (M) Class 8 – General Unsecured Claims




49102337.2
Case 22-56501-pmb           Doc 339-2 Filed 10/15/23 Entered 10/15/23 23:27:13                      Desc
                           Revised Liquidation Analysis Page 6 of 6



         General Unsecured Claims reflect the midpoint of the estimated ranges of trade/accounts payable
claims, lease rejection damage claims, and and Deficiency Claims. As such, the actual Allowed General
Unsecured Claim may be materially lower or higher than the estimate utilized in the Liquidation Analysis.
Under a chapter 7 scenario, the Debtor would convert to chapter 7, leaving the estate subject to materially
higher claims, including potentially higher Deficiency Claims.




49102337.2
